                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

JORGE ELIECER CIFUENTES-CUERO,


v.                                          Case No. 8:15-cr-76-VMC-AAS
                                                     8:21-cv-787-VMC-AAS

UNITED STATES OF AMERICA.

________________________________/

                                       ORDER

       This    cause      is   before    the     Court       on   Jorge    Eliecer

Cifuentes-Cuero’s pro se 28 U.S.C. § 2255 Motion to Vacate,

Set Aside or Correct Sentence. (Civ. Doc. # 1; Crim. Doc. #

79).   The    government       filed    a     response   in       opposition    and

Cifuentes-Cuero filed a reply. (Civ. Doc. ## 4, 7). For the

reasons explained below, the Motion is denied.

I.     Background

       In August 2018, this Court sentenced Cifuentes-Cuero to

262 months’ imprisonment after he pled guilty to one count of

conspiracy        to   possess    with       intent     to    distribute       five

kilograms or more of cocaine while aboard a vessel subject to

the jurisdiction of the United States. (Crim. Doc. # 56).

       In   his    plea    agreement,        Cifuentes-Cuero        admitted    the

following      facts:      Cifuentes-Cuero        has     been      involved       in

narcotic      trafficking      since    2001     and    eventually        gained    a


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leadership        role    in    the     organization,       “[growing]     and

expand[ing] his narcotic trafficking operations from Columbia

into Ecuador.” (Crim. Doc. # 41 at 19). From 2011 to 2015, he

was a “principle member of his Colombian and Ecuadorean-based

drug trafficking operation.” (Id. at 20). Cifuentes-Cuero

participated in multiple maritime drug-trafficking ventures

by organizing the logistics of the ventures, holding meetings

with others, and supplying information about vessel routes,

rendezvous points, and final destinations. (Id.). He also

funded      the   supplies     necessary    to   conduct     the    ventures,

including purchasing vessels, fuel, engines, and electronic

equipment. (Id. at 21). He also provided financial support

to, and supplies for, the crewmembers of the vessels. (Id.).

Cifuentes-Cuero would, either personally or at his direction,

hire and pay the crew members who transported the narcotics.

(Id.). As described in the plea agreement, Cifuentes-Cuero

was    an   organizer     for    two    smuggling   ventures       that   were

intercepted by law enforcement in 2013 and 2014. (Id. at 21-

22).

       Following his conviction in the instant case, Cifuentes-

Cuero filed an appeal, and the Eleventh Circuit affirmed his

conviction        in   April    2020.   (Crim.   Doc.   #    77).    In   that

unsuccessful appeal, Cifuentes-Cuero argued that the factual


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basis for his guilty plea was insufficient and that the

Maritime Drug Law Enforcement Act (“MDLEA”) exceeds Congress’

authority under the Foreign Commerce Clause, as applied to

him. (Id. at 2).

     Thereafter, Cifuentes-Cuero filed the instant Section

2255 Motion. (Civ. Doc. # 1). In the form Motion, Cifuentes-

Cuero    lists    all    three    of   his       grounds     as    “ineffective

assistance of counsel.” (Id. at 4-9). In the memorandum

accompanying his Motion, Cifuentes-Cuero spends two pages

laying   out     the   black-letter        law   on    the   standard    for   an

ineffective-assistance claim. (Doc. # 1-1 at 3-5). Cifuentes-

Cuero then raises three arguments. First, he claims that his

“abduction” from Colombia and subsequent extradition to the

United States breached certain international treaties. (Id.

at 5-10). Second, he argues that 21 U.S.C. §§ 960 and 963 do

not apply outside of the United States. (Id. at 10-14).

Finally, he alleges prosecutorial misconduct in that the

government       effected   his    “illegal           arrest”     and   utilized

“falsification . . . [and] unconscionable actions[s]” to

secure his presence in the United States. (Id. at 14-19).

     The Motion has been fully briefed (Civ. Doc. ## 1, 4, 7)

and is ripe for review.




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II.    Discussion

       Here, the government argues that Cifuentes-Cuero is not

truly        raising        ineffective-assistance-of-counsel                   claims

because he does not describe any particular action or inaction

of    his    attorney       that    affected         his    case      and,   thus,   his

ineffective-assistance claims are “a mere shibboleth to avoid

the [procedural] bars to his claims.” (Civ. Doc. # 4 at 7).

       The Court agrees. While this Court construes the Section

2255 Motion liberally because Cifuentes-Cuero is proceeding

pro se, “this leniency does not permit the district court to

act     as    counsel       for     a     party      or     to   rewrite     deficient

pleadings[.]” Lampkin-Asam v. Volusia Cnty. Sch. Bd., 261 F.

App’x 274, 276-77 (11th Cir. 2008).

       To prevail on a claim of ineffective assistance of

counsel,       a   petitioner       must      show        that   (1)   his   counsel’s

performance was deficient, and (2) the deficient performance

prejudiced his defense. Strickland v. Washington, 466 U.S.

668,     687       (1984).     To       establish         deficient      performance,

Cifuentes-Cuero must demonstrate by a preponderance of the

evidence “that particular and identified acts or omissions of

counsel      ‘were     outside          the   wide    range      of    professionally

competent assistance.’” Chandler v. United States, 218 F.3d

1305,       1314    (11th    Cir.        2000)(citations           omitted)(emphasis


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added). In other words, Cifuentes-Cuero must show that “no

competent counsel would have taken the action that [his]

counsel did take.” Id. at 1315.

       Cifuentes-Cuero bears the burden of proving that he is

entitled to relief under Section 2255. See Rivers v. United

States, 777 F.3d 1306, 1316 (11th Cir. 2015) (“[W]e note that

Rivers bears the burden to prove the claims in his § 2255

motion.”); see also Beeman v. United States, 871 F.3d 1215,

1221-25 (11th Cir. 2017) (explaining that placing this burden

on Section 2255 movants “makes sense” given AEDPA’s policy of

ensuring the finality of convictions).

       Here, Cifuentes-Cuero does not point to a single action,

inaction, or decision taken by his trial counsel or appellate

counsel at all, much less “particular and identified acts or

omissions of counsel [that] were outside the wide range of

professionally competent assistance.” See Chandler, 218 F.3d

at 1314 (internal quotation marks omitted); see also Brownlee

v. Haley, 306 F.3d 1043, 1059 (11th Cir. 2002) (“A petitioner

must identify specific acts or omissions that were not the

result   of   reasonable   professional     judgment,   and    a   court

should deem these acts or omissions deficient only if they

were   outside   the   wide   range   of   professionally     competent

assistance.”). Nor does he even attempt to state how such


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unspecified actions or inactions prejudiced him. Under these

circumstances,   and   given   that   Cifuentes-Cuero   bears   the

burden of proof and persuasion, the Court’s liberality in

construing pro se motions cannot extend to addressing an

ineffective-assistance-of-counsel       claim   without   knowing

which acts or omissions to address.

     The Court will therefore address each claim as it was

actually raised. Furthermore, as an alternative holding, the

Court will address why, even if it were to strain the bounds

of liberal construction by viewing the claims as raised under

an ineffective-assistance-of-counsel rubric, the claims would

nevertheless fail.

     A.   Cifuentes-Cuero’s extradition arguments

     The Court will first address Cifuentes-Cuero’s argument

that he was “abducted” from Colombia, that the government

used underhanded tactics to ensure his appearance in the

United States, that his extradition was improper and, thus,

the district court lacked jurisdiction over him. (Doc. # 1-1

at 5-10, 14-19).

     A claim that a sentence was imposed in violation of a

petitioner’s constitutional rights or without jurisdiction is

cognizable in a Section 2255 motion. See 28 U.S.C. § 2255(a)

(“A prisoner in custody under sentence of a court established


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by Act of Congress claiming the right to be released upon the

ground that the sentence was imposed in violation of the

Constitution or laws of the United States, or that the court

was without jurisdiction to impose such sentence[] . . . may

move the court which imposed the sentence to vacate, set aside

or correct the sentence.”).

     However, claims that were previously available to a

movant but were not raised in a prior proceeding are defaulted

and are ordinarily barred from consideration on collateral

review. Bousley v. United States, 523 U.S. 614, 622-24 (1998).

Under the procedural default rule, “a defendant generally

must advance an available challenge to a criminal conviction

or sentence on direct appeal or else the defendant is barred

from presenting that claim in a [Section] 2255 proceeding.”

McKay v. United States, 657 F.3d 1190, 1196 (11th Cir. 2011).

There are two exceptions to the rule of procedural default:

“(1) for cause and prejudice, or (2) for a miscarriage of

justice, or actual innocence.” Id.

     The   cause-and-prejudice   standard   requires   Cifuentes-

Cuero to show both cause for not raising the claim of error

on direct appeal and actual prejudice from the alleged error.

Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004).

If Cifuentes-Cuero cannot show both cause for his procedural


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default and prejudice, this Court should not consider his

challenge to his sentence unless he demonstrates “actual

innocence.” Bousley, 523 U.S. at 620–24.

       Construing the Motion, then, as raising challenges to

Cifuentes-Cuero’s       extradition,          the     Court   agrees     with   the

government that this claim is procedurally barred. Cifuentes-

Cuero did not argue before the trial court or on direct appeal

that    his   extradition     was     improper         and    /   or    that    his

“abduction” from Colombia rendered the district court without

jurisdiction, despite the claim being available. Therefore,

absent one of the exceptions above, his claim is procedurally

barred.

       Cifuentes-Cuero has not pointed to any reason supporting

why this claim was not raised previously, beyond some vague

references to his counsel’s alleged ineffective assistance.

In some circumstances, a petitioner can establish cause based

on ineffective assistance of counsel, see Fortenberry v.

Haley, 297 F.3d 1213, 1222 (11th Cir. 2002), but to do so,

the    petitioner      must   fully          allege    and    prove      deficient

performance     that    worked      to       his    actual    and      substantial

disadvantage. Reece v. United States, 119 F.3d 1462, 1465–68

(11th Cir. 1997). But, again, without any allegations about

what counsel did or did not do, why such actions or omissions


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were    deficient,    or     how        such   omissions       prejudiced       him,

Cifuentes-Cuero has not established cause for failing to

raise this claim earlier or prejudice therefrom. In addition,

Cifuentes-Cuero has not presented persuasive evidence of his

actual innocence, and thus he cannot show a fundamental

miscarriage of justice. See Fortenberry, 297 F.3d at 1222

(dismissing      fundamental        miscarriage         of    justice       claim    in

absence    of    persuasive       evidence     of   innocence).         Thus,       his

extradition claim is procedurally barred.

       Delving    further,        and    considering         whether    Cifuentes-

Cuero’s    counsel    was    ineffective          for    failing       to    raise    a

jurisdictional challenge based on his alleged “abduction” and

improper extradition from Colombia, the claim still fails.

       “The general rule, as enunciated by the Supreme Court

in Ker v Illinois (1886) 119 US 436 [], and followed by the

Supreme Court in Frisbie v Collins (1952) 342 US 519 [], is

that the power of a court to try a person for a crime is not

impaired by the manner in which he has been brought within

the    court’s   jurisdiction,          whether     by   forcible       abduction,

violation of international treaty, or illegal arrest.” 64

A.L.R. Fed. 292; see also United States v. Arbane, 446 F.3d

1223, 1225 (11th Cir. 2006)(“The Supreme Court’s Ker–Frisbie

doctrine    holds    that     a    criminal       defendant      cannot       defeat


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personal jurisdiction by asserting the illegality of the

procurement of his presence in the relevant jurisdiction—

here, the United States.”).

     In 1992, the Supreme Court held that where the subject

extradition treaty did not prohibit abductions outside of its

terms, and general principles of international law provided

no basis for interpreting the treaty to include an implied

term prohibiting international abductions, a district court

properly had jurisdiction to try a Mexican national who had

been forcibly kidnapped and brought to the United States to

stand trial. United States v. Alvarez-Machain, 504 U.S. 655,

669-70 (1992). As the Court explained, while a defendant may

not be prosecuted in violation of the terms of an extradition

treaty,   if   the   extradition    treaty   does   not   prohibit   a

respondent’s forcible abduction, the Ker-Frisbie doctrine

applies, and jurisdiction will be proper. Id. at 668-70

(citations omitted). Thus, the Ker-Frisbie doctrine has one

exception – for when “an extradition treaty contains an

explicit provision making the treaty the exclusive means by

which a defendant’s presence may be secured.” Arbane, 446

F.3d at 1225 (citing Alvarez-Machain, 504 U.S. at 664).

     For example, the Eleventh Circuit has relied on this

line of caselaw in holding that an individual’s abduction


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from the Dominican Republic did not bar an American court’s

jurisdiction    over   him   where   the   subject    treaty   did   not

expressly bar such abductions. See United States v. Castillo,

568 F. App’x 774, 783 (11th Cir. 2014).

     Here, the Court will take at face value Cifuentes-

Cuero’s allegation that he was abducted from Colombia by

American authorities in order to stand trial in this country.

Under Alvarez-Machain, then, the only question is whether the

subject extradition treaty contains an explicit provision

outlawing such abductions.

     The state of the law with respect to extradition between

the United States and Colombia is far from clear. The Eleventh

Circuit   has    provided     this    nutshell       history   of    the

relationship:

     The United States and Colombia entered into an
     extradition treaty on September 14, 1979. Colombia
     ratified the treaty by its Law 27 of 1980, and the
     United States ratified the treaty on November 20,
     1981. In 1986, the Colombian Supreme Court held
     that Law 27 was unconstitutional because it had
     been sanctioned by a Colombian government official
     other than the President of Colombia. Because of
     this ruling, the treaty remains inapplicable in
     Colombia. However, in 1989, the President of
     Colombia, pursuant to his martial law powers,
     issued Decree Number 1860 which provides in
     pertinent part that “for the purpose of extradition
     of Colombian and foreign nationals sought for
     [narcotics trafficking and related] offenses, the
     procedure set forth in the Code of Criminal
     Procedure shall be applied, with the modifications


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       set forth herein.” The issuance of this decree
       suspended Colombia's requirement that Colombian
       nationals be extradited only pursuant to public
       treaties.

United States v. Gallo-Chamorro, 48 F.3d 502, 503 n.1 (11th

Cir. 1995) (citations omitted); see also United States v.

Valencia-Trujillo, 573 F.3d 1171, 1179 (11th Cir. 2009) (“The

fact is that the 1979 treaty was not in effect at the time

the defendant in Gallo–Chamorro was extradited in 1990. The

law ratifying the treaty had been struck down by Colombia’s

Supreme Court in 1986. The issuance of the executive decree

in   1989   suspended    Colombia’s        requirement        that   Colombian

nationals be extradited only under public treaties. It was

the executive decree in 1989, not the 1979 treaty, that made

possible Gallo–Chamorro’s extradition in 1990.”).

       To make matters more confusing, while Colombia does not

recognize the 1979 treaty, the United States does. See Arias

Leiva v. Warden, 928 F.3d 1281, 1288 (11th Cir. 2019) (holding

that    American   Secretary      of       State’s     determination      that

extradition     treaty      between    United        States    and     Colombia

remained in effect was entitled to judicial deference, even

if   Colombia   had   not    invoked       the   treaty   when       processing

extradition requests made by the United States, where neither

party had given notice of treaty’s termination, and United



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States had never pronounced it void or otherwise renounced

it).

       However, this does not change a salient fact: Cifuentes-

Cuero has not pointed this Court to any explicit provision in

the 1979 treaty or the 1989 executive decree making the treaty

or decree the exclusive means by which a defendant’s presence

could be secured. See Arbane, 446 F.3d at 1225. The Court

failed to locate any other decision that has so held, nor

does the Court’s review of both documents reveal any such

explicit provision. 1 In the absence of such provision, the

Ker-Frisbie doctrine applies and jurisdiction was proper. 2

See Alvarez-Machain, 504 U.S. at 668-70; see also Castillo,

568 F. App’x at 783.

       Cifuentes-Cuero also argues that the manner in which the

United States government brought him into this country, by



1 See Extradition Treaty Between the United States of America
and the Republic of Colombia, Colom.-U.S., Sept. 14, 1979, S.
Treaty Doc. No. 97-8 (1981); 1SR3-330-1-4.
2 Cifuentes-Cuero also raises the rule of specialty in his
Section 2255 Motion, but because his presence was not secured
by treaty, treaty-based doctrines like the rule of specialty
are inapplicable to him. See United States v. Valencia-
Trujillo, 573 F.3d 1171, 1181 (2009) (“Because Colombia’s
extradition of Valencia–Trujillo to the United States was not
based on an extradition treaty between the two countries
Valencia–Trujillo lacks standing to assert the rule of
specialty.”).


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using “falsification [and] unconscionable action[s]” violated

his due process rights and divested the Court of jurisdiction.

(Doc. # 1-1 at 14-19). 3 Cifuentes-Cuero has produced not a

scrap of evidence to support this theory, but even if he had,

“[t]he    manner    in   which    [Cifuentes-Cuero]        was    brought    to

trial, however, does not affect the ability of the government

to try him.” United States v. Mitchell, 957 F.2d 465, 470

(7th Cir. 1992) (citing Ker-Frisbie doctrine). And while

Cifuentes-Cuero points to the Second Circuit’s decision in

United States v. Toscanino, 500 F.2d 267 (2d Cir. 1974) –

where    that    court   recognized       an   “outrageous       conduct”   or

“shocks the conscience” exception to the Ker-Frisbie doctrine

– the Eleventh Circuit has not recognized such an exception.

See United States v. Darby, 744 F.2d 1508, 1531 (11th Cir.

1984)    (questioning     viability       of   Toscanino    exception       and

refusing    to   apply    it     absent   allegations      that    defendant

endured “cruel, inhuman and outrageous treatment”).

     Here, Cifuentes-Cuero alleges that government agents

engaged    in      “fraud,     deceit,     and    trickery,”       including



3 To the extent Cifuentes-Cuero argues that his “illegal
arrest” violated the Fourth Amendment (see Doc. # 1-1 at 15),
his argument is without merit. See Valencia-Trujillo, 573
F.3d at 1183 (“The Fourth Amendment, however, does not apply
to actions against foreign citizens on foreign soil.”).


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“falsification.” (Doc. # 1-1 at 14, 16). Even if this Court

were to apply the Toscanino exception – which it would have

serious reservations about doing – this allegation falls

short of the sort of cruel and outrageous conduct contemplated

by Toscanino.

     In sum, the Court is not persuaded that Cifeuntes-

Cuero’s counsel rendered deficient performance for failing to

raise a jurisdictional challenge based on the circumstances

of Cifeuntes-Cuero’s extradition to the United States. See

Philippe v. United States, No. 19-10323-D, 2019 WL 12660977,

at *1 (11th Cir. June 4, 2019) (rejecting claim on collateral

review that counsel should have sought dismissal of the

charges based on United States-Haiti treaties where, under

Alvarez-Machain, “the extradition treaty between the United

States and Haiti does not preclude other methods of securing

a defendant’s presence in the United States [and] [a]s such,

the district court retained jurisdiction over Philippe, even

though his transfer to the United States was conducted outside

the formal extradition process”) (citation omitted).

     What’s more, even if counsel’s performance was deficient

in this regard, Cifuentes-Cuero has failed to demonstrate

prejudice because he has not demonstrated that the American

authorities could not have obtained his presence in this


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country through other means. See Strickland, 466 U.S. at 694

(explaining     that   prejudice     prong   requires     showing     “a

reasonable probability that, but for counsel’s unprofessional

errors,   the   result   of   the    proceeding   would    have     been

different”).

     For these reasons, this claim is due to be denied.

     B.    Extraterritorial application of
           21 U.S.C. §§ 960 and 963

     Cifuentes-Cuero also argues that “he was not aboard any

vessel[,] he never entered the United States[,] or had any

nexus to the United States,” and, thus, 21 U.S.C. §§ 960 and

963 do not apply to him, leaving the district court without

jurisdiction. (Doc. # 1-1 at 10-14).

     As an initial matter, to the extent Cifuentes-Cuero’s

argument centers on Section 963, he did not plead guilty to

violating that statute. Instead, he pled guilty to Count Two

of the indictment, which alleged a violation of 46 U.S.C. §

70503(a), 46 U.S.C. § 70506(a) and (b), and 21 U.S.C. §

960(b)(1)(B)(ii). See (Crim. Doc. ## 1, 41 at 1).

     Cifuentes-Cuero raised a very similar argument on his

direct appeal – that the provisions of the MDLEA should not

apply to him because he was not physically in the United

States or on the high seas when the crimes were committed.



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The Eleventh Circuit rejected this argument. And in doing so,

it rejected the same argument that Cifuentes-Cuero raises

here, writing:

     But the fact that Mr. Cifuentes-Cuero was not
     physically on board the vessels is of no
     consequence. In a conspiracy, “the overt act of one
     partner in a crime is attributable to all,” so long
     is it can be “reasonably foreseen as a necessary or
     natural consequence of the unlawful agreement.”
     Pinkerton v. United States, 328 U.S. 640, 647–48
     (1946). Even if Mr. Cifuentes-Cuero’s own acts were
     not committed on the “high seas,” the factual
     proffer   established   that  his   co-conspirators
     committed felonious acts in international waters
     that are attributable to him. The Felonies Clause
     therefore gives Congress the power to punish Mr.
     Cifuentes-Cuero for his role in the conspiracy. See
     United States v. Ballestas, 795 F.3d 138, 147 (D.C.
     Cir. 2015) (holding that the Felonies Clause
     “provides Congress with authority to ‘punish’
     Ballestas for his role” in a drug trafficking
     conspiracy even though he was never on board the
     relevant vessels because his “co-conspirators
     committed felonious acts on the high seas” that
     “are directly attributable to him”).

(Civ. Doc. # 4-1 at 8-9).

     “Once a matter has been decided adversely to a defendant

on direct appeal, it cannot be re-litigated in a collateral

attack under section 2255.” See United States v. Nyhuis, 211

F.3d 1340, 1343 (11th Cir. 2000); see also Olmstead v. United

States, 55 F.3d 316, 319 (7th Cir. 1995) (section 2255 motion

is “neither a recapitulation of nor a substitute” for direct

appeal; absent changed circumstances of fact or law, court



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will   not   reconsider   an   issue    already    decided      on    direct

appeal). Because this argument has already been considered

and rejected, it cannot be relitigated in this Section 2255

Motion.

       Furthermore, even construing his claim as raising a

claim that his counsel was ineffective for failing to raise

the argument that the statutes to which he pled guilty did

not apply to him – that claim was raised and rejected on

direct appeal. Counsel does not render deficient performance

for failing to raise a meritless claim. See, e.g., Denson v.

United States, 804 F. 3d 1339, 1342 (11th Cir. 2015) (“Failing

to make a meritless objection does not constitute deficient

performance.”).

       For these reasons, this claim is meritless.

III. Certificate of Appealability and Leave to Appeal In
     Forma Pauperis Denied

       The   Court   declines    to      issue    a    certificate        of

appealability because Cifuentes-Cuero has failed to make a

substantial showing of the denial of a constitutional right

as required by 28 U.S.C. § 2253(c)(2). Nor will the Court

authorize    Cifuentes-Cuero    to     proceed    on   appeal    in    forma

pauperis because such an appeal would not be taken in good

faith. See 28 U.S.C. § 1915(a)(3). Cifuentes-Cuero shall be



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required to pay the full amount of the appellate filing fee

pursuant to Section 1915(b)(1) and (2).

     Accordingly, it is now

     ORDERED, ADJUDGED, and DECREED:

     Jorge Eliecer Cifuentes-Cuero’s pro se 28 U.S.C. § 2255

Motion to Vacate, Set Aside or Correct Sentence. (Civ. Doc.

# 1; Crim. Doc. # 79) is DENIED. The Clerk is directed to

enter judgment for the United States of America and to close

this case.

     DONE and ORDERED in Chambers in Tampa, Florida, this 1st

day of December, 2021.




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